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AL U.S. DISTRICT COURT

 

 

 

 

 

 

 

NORTHERN DISTRICT OF TEXAS
FILED
MAY 13 2020
IN THE UNITED STATES DISTRICT COUR] cqurrxus.bis URT
FOR THE NORTHERN DISTRICT OF TEXAS By
DALLAS DIVISION ty
UNITED STATES OF AMERICA NO.
v. 8-20C R0216 -X
ARGELIA AGUIRRE (01)
HENRY LOPEZ RODRIGUEZ, JR. (02)
NATHEN DANIEL SCOTT (03)
MITCH ANTONIO SHAMLIN (04)
PABLO RAMIREZ ROSALES (05)
JOHN MARK PATTERSON (06)
INDICTMENT
The Grand Jury charges:
Count One

Conspiracy to Possess with Intent to Distribute a Controlled Substance
(Violation of 21 U.S.C. § 846)

Between in or about January 2020 and in or about February 2020, in the Dallas
Division of the Northern District of Texas and elsewhere, the defendants, Argelia
Aguirre, Henry Lopez Rodriguez, Jr., Nathen Daniel Scott, Mitch Antonio Shamlin,
Pablo Ramirez Rosales, and John Mark Patterson, did knowingly and intentionally
combine, conspire, confederate and agree with each other and with other persons both
known and unknown to the Grand Jury, to possess with intent to distribute 500 grams or
more of a mixture and substance containing a detectable amount of methamphetamine, a
Schedule II controlled substance, in violation of 21 U.S.C. § 841(a)(1).

In violation of 21 U.S.C. § 846, the penalty for which is found at 21 U.S.C.

§ 841(b)(1)(A).

Indictment—Page 1

 

 
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Count Two
Possession with Intent to Distribute a Controlled Substance
(Violation of 21 U.S.C. § 841(a)(1))

Between in or about January 2020 and in or about February 2020, in the Dallas
Division of the Northern District of Texas, the defendants, Argelia Aguirre, Henry
Lopez Rodriguez, Jr., Nathen Daniel Scott, Mitch Antonio Shamlin, and Pablo
Ramirez Rosales, did knowingly and intentionally possess with intent to distribute a
mixture and substance containing a detectable amount of methamphetamine, a Schedule
I controlled substance.

In violation of 21 U.S.C. § 841(a)(1), the penalty for which is found at 21 U.S.C.

§ 841(b)(1)(C).

Indictment—Page 2

 

 

 
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Count Three
Possession of a Firearm by a Convicted Felon
(Violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2))

On or about February 4, 2020, in the Dallas Division of the Northern District of
Texas, the defendant, John Mark Patterson, knowing that he had been convicted of a
crime punishable by imprisonment for a term exceeding one year, that is, a felony
offense, did knowingly possess, in and affecting interstate and foreign commerce, a
firearm, to wit: a Smith and Wesson, Model M&P, 9 millimeter pistol, bearing serial
number DTN4350.

In violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2).

Indictment—Page 3

 

 

 
 

 

 

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Forfeiture Notice
(18 U.S.C. § 981(a)(1)(C); 28 U.S,C. § 2461;
21 U.S.C. § 853(a); and 18 U.S.C. § 924((d))

Upon conviction for Counts One or Two, pursuant to 21 U.S.C. § 853(a), the
defendants, Argelia Aguirre, Henry Lopez Rodriguez, Jr., Nathen Daniel Scott,
Mitch Antonio Shamlin, and Pablo Ramirez Rosales, shall forfeit to the United States
of America all property, real or personal, constituting, or derived from, the proceeds
obtained, directly or indirectly, as a result of the respective offense; and any property,
real or personal, used or intended to be used, in any manner or part, to commit or
facilitate the commission of the respective offense. This property includes, but is not
limited to, the following:

1. a Smith and Wesson, Model M&P, 9 millimeter pistol, bearing serial
number DTN4350 (as to John Mark Patterson),

2. a Taurus PT 24/7 .40 semi-automatic pistol, bearing serial number
SXA39984 (as to Argelia Aguirre),

3. a Benelli 12 gauge shotgun, bearing serial number Z173896 (as to Argelia
Aguirre),

4. a Ruger SR9C 9 millimeter semi-automatic handgun, bearing serial number
339-10718 Argelia Aguirre),

5. a Davis Industries D38 .38 Derringer, bearing serial number F02958 (as to
Argelia Aguirre),

6. an Action Arms 9 millimeter U21 semi-automatic Uzi, bearing serial
number 920446 (as to Argelia Aguirre),

7. a Rock Island Armory ACP .45 semi-automatic handgun, bearing serial
number R1A1057559 (as to Pablo Ramirez Rosales)

8. a Taurus PT738 .380 semi-automatic handgun, bearing serial number
91815C (as to Pablo Ramirez Rosales),

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9, a Windham Model WW-15 .223/556 rifle, bearing serial number
WW236840 (as to Argelia Aguirre),

10. a Mossberg Model 590 12 gauge shotgun, bearing serial number MF
0004585, (as to Argelia Aguirre),

11. an Iver Johnso Arms M1 Carbine .30, bearing serial number SS02654, (as
to Argelia Aguirre),

12.a Draco Roman Cugir 7.62, bearing serial number DB0675 16 (as to
Argelia Aguirre),

13.a Mossberg 715T .22 Long Rifle, bearing serial number MH3964440 (as to
Argelia Aguirre),

14.a Ruger SR45 .45 semi-automatic handgun, bearing serial number #
38076930 (as to Argelia Aguirre),

15.a Mossberg 535 12 gauge shotgun, bearing serial number R490187 (as to
Argelia Aguirre)

and any magazine(s) and ammunition seized with the firearm.

Upon conviction for Count One, pursuant to 21 U.S.C. § 853(a), the defendant,
John Mark Patterson, shall forfeit to the United States of America all property, real or
personal, constituting, or derived from, the proceeds obtained, directly or indirectly, as a

result of the respective offense; and any property, real or personal, used or intended to be

used, in any manner or part, to commit or facilitate the commission of the respective
offense.

Upon conviction for the offense alleged in Count Three of this Indictment and
pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), the defendant, John Mark
Patterson, shall forfeit to the United States of America any firearm, magazine, and
ammunition involved or used in the offense, including the firearm(s) referenced below.

This property includes, but is not limited to, the following:

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(1) aSmith and Wesson, Model M&P, 9 millimeter pistol, bearing serial
number DTN4350 (as to John Mark Patterson), and any magazine(s) and
ammunition seized with the firearm.

 

 

 

 

 

A TRUE BILL:
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FOREPERSON
ERIN NEALY COX
UNITED STATES ATTORNEY
P.J. MEX
Assistant United States Attorney

District of Columbia Bar No. 502391
Virginia Bar No. 73215

1100 Commerce Street, Third Floor
Dallas, Texas 75242-1699
Telephone: 214-659-8600

Facsimile: 214-659-8805

E-mail: philip.meitl@usdoj.gov

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
LUBBOCK DIVISION

 

THE UNITED STATES OF AMERICA
v.

ARGELIA AGUIRRE (01)
HENRY LOPEZ RODRIGUEZ, JR. (02)
NATHEN DANIEL SCOTT (03)
MITCH ANTONIO SHAMLIN (04)
PABLO RAMIREZ ROSALES (05)
JOHN MARK PATTERSON (06)

 

INDICTMENT

21 U.S.C. § 846
Conspiracy to Possess with Intent to Distribute a Controlled Substance
(Count 1)

21 U.S.C. § 841(a)(1)
Possession with Intent to Distribute a Controlled Substance
(Count 2)

18 U.S.C. §§ 922(g)(1) and 924(a)(2)
Possession of a Firearm by a Convicted Felon
(Count 3)

(18 U.S.C. § 981(a)(1)(C); 28 U.S.C. § 2461;
21 U.S.C. § 853(a); and 18 U.S.C. § 924(d)
Forfeiture Notice

3 Counts

 

 

 

 
 

 

 

 

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A true bill rendered

 

LUBBOCK

Filed in open court this 13“ day of May, 2020.

FOREPERSON

 

Warrant to be Issued

 

Hiv

 

UNITED STATES MAGISTRATE JUDGE
No Criminal Matter Pending

 

 
